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                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF NEW YORK

                                                             Civil File No.: 2:22-cv-07841-GRB-AYS
             Jenna Marie Duncan, individually and on
             behalf of all others similarly situated,

                             Plaintiff,                          DECLARATION OF MICHAEL
                                                                     COOGAN IN SUPPORT OF
             vs.                                             DEFENDANT'S MEMORANDUM OF
                                                             LAW IN SUPPORT OF MOTION TO
             Kahala Franchising, L.L.C.,                          DISMISS PLAINTIFF'S FIRST
                                                                    AMENDED CLASS ACTION
                              Defendant.                                       COMPLAINT


                     I, Michael Coogan, hereby state and declare as follows:

                     1.       I am a Regional Director of Operations for Kahala Brands.

                     2.       On March 22, 2023, I was present at the Levittown, New York Cold Stone

             Creamery location and took the photos identified in the Cold Stone Letter identified as

             Exhibit A to the declaration of Kyle S. Willems.

                      3.      I also have personal knowledge of the Levittown, New York Cold Stone

             Creamery location. The photographs taken show the same layout that a consumer would

             have seen during the relevant time period alleged in Plaintiff's lawsuit.

                      4.      Specifically, customers would have seen the boards as identified in the

             images located on pages 4, 6, 8, and 9 of the Cold Stone Letter. Customers would also have

             seen the ice cream located in the refrigeration unit as identified in the images located on

              pages 7, 8, and 10 of the Cold Stone Letter.
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                     5.      While the location of specific ice cream flavors may have changed within the

            refrigeration unit, the placards shown in the images are the same as what would have been

            used during the relevant time period in this lawsuit.

                     6.      I also have personal knowledge of the Cold Stone consumer experience.

            When a consumer enters a Cold Stone, they stand in front of the refrigeration unit as

             identified on page 8 of the Cold Stone Letter.

                     7.      Behind the refrigeration unit is a large menu board with a variety of ice cream

             signature creations, shakes, and smoothies a consumer can order.

                     8.       If a consumer does not want a pre-set shake, smoothie, or ice cream signature

             creation, the board also has a "Create You Own" section which a consumer can follow in

             three steps, which is also visible on page 8 of the Cold Stone Letter. These steps are "1.

             Select a Flavor & Size; 2. Choose Mix-Ins; 3. Add a Waffle Cone or Bowl."

                     9.       To assist consumers in selecting their desired ice cream flavor in Step 1, Cold

             Stone places flavor placards in the refrigeration unit's window next to the corresponding

             ice cream, as indicated on page 8 of the Cold Stone Letter. For the products at issue in this

             lawsuit, no flavor placard indicates that they are "made with" any particular ingredient.

             This holds true during the relevant time period in this lawsuit.

                     10.      Consumers also view the ice cream themselves in the refrigeration unit.

             Notably, for the products at issue in this lawsuit, consumers are able to see for themselves

             that there are no "chunks" of what appear to be any specific ingredients in the ice cream

             that would indicate a particular ice cream contains a certain ingredient.




                                                             2
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                     I declare under penalty of perjury that everything I have stated in this document is

             true and correct.

                     Signed on this 10 day of January 2024 in the State of New York, County of Queens.



                                                                      Respectfully Submitted,
                                                                           —DocuSigned by:



                                                                              48C8718842574A0...
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mcoogan@kahalamgmt.com                                                                 Viewed: 1/10/2024 12:26:16 PM
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Envelope Summary Events                             Status                              Timestamps
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 Payment Events                                     Status                              Timestamps
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Electronic Record and Signature Disclosure created on: 8/23/2018 8:20:14 AM
Parties agreed to: Michael Coogan




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     Email:                 !Access to a valid email account
     Screen Resolution:     !800 x 600 minimum
     Enabled Security
     Settings:               I• Allow per session cookies
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